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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    ORDER
                                      Criminal File No. 09-172 (MJD/SRN)

(17) WINSTON NGUYEN,

                   Defendant.

LeeAnn K. Bell, Assistant United States Attorney, Counsel for Plaintiff.

Matthew D. Forsgren and Ankoor Bagchi, Briggs & Morgan, PA, Counsel for
Defendant Winston Nguyen.




      The above-entitled matter also comes before the Court upon the Report

and Recommendation of United States Magistrate Judge Susan Richard Nelson

dated October 13, 2010. [Docket No. 678] Defendant Winston Nguyen filed

objections to the Report and Recommendation. In his objections, Nguyen raises

an entirely new argument regarding the propriety of the trash searches that

formed one of the bases for the search warrant at issue. Nguyen did not make a

motion to suppress the evidence seized during the trash searches. There is no

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indication that he raised this issue during the suppression hearing before the

Magistrate Judge. The Court concludes that Defendant has waived this issue by

raising it, for the first time, in his objection to the Report and Recommendation.

Moreover, there is no evidence to indicate that the trash searches were, in fact,

invalid. The Court further rejects Defendant’s other objections.

      Pursuant to statute, the Court has conducted a de novo review upon the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.2(b). Based upon that review, the

Court ADOPTS the Report and Recommendation of United States Magistrate

Judge Susan Richard Nelson dated October 13, 2010.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1. The Court ADOPTS the Report and Recommendation of United
         States Magistrate Judge Susan Richard Nelson dated October 13,
         2010 [Docket No. 678].

      2. Defendant Winston Nguyen’s Motion to Suppress Evidence
         Obtained as a Result of Search and Seizure [Docket No. 597] is
         DENIED.




Dated: December 13, 2010               s/ Michael J. Davis
                                       Michael J. Davis
                                       Chief Judge
                                       United States District Court

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